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Pre (lap
as [tev 10/21)
UNITED STATES DISTRICT COURT
for the
EASTERN DISTRICT OF VIRGINIA
U.S.A. vs. Jared Edward JAUREQUI Docket No. 1:19-CR-253-005

Addendum to Petition for Action on Conditions of Pretrial Release

COMES NOW, U.S. PROBATION OFFICER NICOLE R. ANDREWS, presenting an official
report upon the conduct of defendant Jared Edward YAUREQUI, who was continued under pretrial release
supervision by YOUR HONOR, sitting in the court at Alexandria, VA, on October [ 1, 2019, under the following
conditions:

1) Report on a regular basis to Pretrial Services; 2) Undergo substance abuse testing and/or treatment as directed;
3) Continue or actively seek employment, 4) Travel restricted to the District of Nevada and the Washington, D.C.
metropolitan arca, for court purposes; 5) Reside at current residence and not move without prior approval of the
Court or Pretrial Services; 6) Avoid all contact, directly or indirectly, with any co-defendants or potentia!
witnesses related to the charged offense unicss in the presence of counsel, except for husband, Kristopher
Dallmann; and 7) Participate in a program approved by the Pretrial Services Office for mental health treatment.
The detendant shall waive all rights of confidentially regarding the mental health to allow the release of
information to the Probation/Pretrial Services Office and authorize communication between the probation officer
and the mental health treatment provider.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT AND FOR CAUSE AS FOLLOWS:

1) The defendant failed to report as directed to U.S. Pretrial Services Officer Emily McKillip in the District of
Nevada on November 4, 2019; 2) The defendant failed to report as required to submit a random urine specimen
on November 15, 2019 in the District of Nevada; and 3) The defendant failed to report as required to submit a
random urine specimen on November 18, 2019 in the District of Nevada.

PRAYING THAT THE COURT WILL address the aforementioned violations at the defendant's sentencing
hearing before the Court on December 6, 2019, and the defendant be made to show cause why his conditions of
release should not be revoked.

ORDER OF COURT I declare under the penalty of perjury that the
HW / foregoing is true and correct.
red and ordered this 9 day of
20) and ordered filed and made a part of the Executed on: November 20, 2019
$ in the above case. Digitally signed by Nicale A.

Nicole R. Andrews arcrews
Date: 2019.11.20 10:44:34 -05'00°

Nicole R. Andrews
U.S. Probation Officer

 

 

 

Senior vu. S. District Judge

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